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                                  March 20, 2018


By ECF


Honorable Kimba M. Wood
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

      Re:   Rigas v. United States, No. 11 Civ. 6964 & 02 Cr. 1236


Dear Judge Wood:

      At the status hearing on March 15, 2018, the Court requested a redline
version of the Local Rule 56.1 Statement of Material Facts that compared the
original Local Rule 56.1 Statement (filed on May 17, 2017, Dkt. 134) with the
Amended Local Rule 56.1 Statement of Material Facts (filed on February 7, 2018,
Dkt. 163-1). The redline is attached to this letter. We have also provided a redline
to the government. We have also provided the Court with a redline of the
memorandum of law (filed on February 7, 2018, Dkt. 163-3).

       As we noted at last week’s hearing, there were very few substantive
alterations to the memorandum of law. The changes in the memorandum related
primarily to accurate citations to the corrected Rule 56.1 statement. The changes
added no new facts upon which the Rigases are relying in support of their Brady
claims. However, as the Court will see, there were significant alterations to the
original Local Rule 56.1 Statement, which was deficient and not compliant with
the Court’s rules and individual practices.

      We have conferred with counsel for the government, who are in the process
of reviewing the Amended Local Rule 56.1 Statement. They said that they will
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notify the Court of their intention to file a response within the next week, as they
previously indicated to the Court during the status hearing.

      We are hand delivering a copy of the redline of the Local Rule 56.1
Statement to the Court tomorrow.

                                                 Respectfully submitted,

                                                 /s/ Steven F. Molo
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                                                  Attorneys for Petitioners



cc:   AUSA Brian Roger Blais
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                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on the 20th day of March, 2018, I electronically

filed the foregoing with the Clerk of the Court using the CM/ECF system, which

will send notification of such filing to all parties with an e-mail address of record

who have appeared and consent to electronic service in this action.


Dated: March 20, 2018                            /S/ Steven F. Molo
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